            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                          WESTERN DIVISION

UNITED STATES OF AMERICA,           )
                                    )
                   Plaintiff,       )
                                    )
      v.                            )     Criminal Action No.
                                    )     10-00244-02-C-W-DW
BRADLEY COOK,                       )
                                    )
                   Defendant.       )

                   REPORT AND RECOMMENDATION TO DENY
                DEFENDANT’S MOTION TO SUPPRESS EVIDENCE

      Before the court is defendant’s motion to suppress evidence

seized from his residence on December 15, 2009, on the ground

that the information in the affidavit was stale and the

information obtained from E.P. and J.G. was uncorroborated and

lacked reliability.     I find that (1) the information in the

affidavit was not stale; (2) the information provided by the

female acquaintances was neither unreliable nor necessary to the

determination of probable cause; (3) regardless of whether the

information was stale or the information from the females

unreliable, the good-faith exception to the exclusionary rule

applies; and (4) the decision of the issuing judge is entitled to

great deference and should be upheld in this case.              Therefore,

defendant’s motion to suppress should be denied.

I.    BACKGROUND

      On September 8, 2010, an indictment was returned charging

defendant with conspiracy to commit sex trafficking by force,




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fraud, or coercion and to use an interstate facility to promote

an unlawful activity, in violation of 18 U.S.C. § 371; sex

trafficking by force, fraud or coercion, in violation of 18

U.S.C. §§ 1591 and 1594; possession of firearms and ammunition by

a drug user, in violation of 18 U.S.C. § 922(g)(3); and using an

interstate facility to facilitate an unlawful activity, in

violation of 18 U.S.C. § 1952(a).       A superseding indictment was

returned on March 30, 2011, charging the conspiracy, sex

trafficking, and use of an interstate facility to facilitate

unlawful activity; however, the superseding indictment did not

include the gun count and added the following:          Tampering with a

victim, in violation of 18 U.S.C. § 1512(a)(1)(A); use of an

interstate facility in the commission of murder for hire, in

violation of 18 U.S.C. § 1958; attempted witness retaliation, in

violation of 18 U.S.C. § 1513(a)(1); and attempted tampering with

a witness, in violation of 18 U.S.C. § 1512(b)(1).

     Defendant filed the instant motion to suppress (document

number 123), and the government filed a response (document number

155) arguing that the information in the affidavit was not stale,

and that the informants provided information that corroborated

defendant’s own statements.     The government also points out that

aside from those two issues, the good-faith exception to the




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exclusionary rule applies even if probable cause if found to be

lacking.

       I held a hearing on this and several other defense motions

during which the government appeared by Assistant United States

Attorneys Cynthia Cordes, Paul Becker, and John Cowles.              The

defendant was present, represented by Carter Law.              I admitted

under seal as Court’s Exhibit 1 the affidavit and application for

search warrant, search warrant, and return.           Defense counsel

stated that although the motion is entitled “Motion to Suppress

Evidence and Statements,” there is no statement and defendant

only seeks to suppress evidence seized pursuant to the search

warrant (Tr. at 3-4).

II.    STALENESS OF EVIDENCE

       Staleness is a case-specific inquiry, and probable cause

cannot be judged “by simply counting the number of days between

the occurrence of the facts supplied and the issuance of the

affidavit.”     United States v. Darr, --- F.3d ---, 2011 WL 5555616

(8th Cir. (Mo.), November 16, 2011), quoting United States v.

Koelling, 992 F.2d 817, 822 (8th Cir. 1993).           “There is no

bright-line test for determining when information in a warrant is

stale.”    United States v. Lemon, 590 F.3d 612, 614 (8th Cir.),

cert. denied, 130 S. Ct. 3305 (2010), citing United States v.

Pruneda, 518 F.3d 597, 604 (8th Cir. 2008).           Rather, courts look




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to the circumstances of the case, including the nature of the

crime involved.   United States v. Lemon, 590 F.3d at 614.            “[T]he

lapse of time is least important when the suspected criminal

activity is continuing in nature and when the property is not

likely to be destroyed or dissipated.”       Id. quoting United States

v. Horn, 187 F.3d 781, 786 (8th Cir. 1999).

     The type of evidence which is not likely to be destroyed

includes firearms, United States v. Maxim, 55 F.3d 394, 397 (8th

Cir. 1995) (expert testimony established that possessors of

illegal firearms often keep their weapons for a long period of

time; three-year old information not stale) and child

pornography, United States v. Lemon, 590 F.3d at 614, citing

United States v. Morales-Aldahondo, 524 F.3d 115, 119 (1st Cir.

2008) (three-year lapse between purchase of child pornography and

search warrant not stale).     The Eighth Circuit has recognized

that increased computer storage capacity may make it easier to

retain items such as child pornography for a significant period

of time.   United States. v. Lemon, 590 F.3d at 615-616, citing

United States v. Newsom, 402 F.3d 780, 783 (7th Cir. 2005).

     The affidavit in support of the search warrant states that

on September 21, 2009, Special Agent Chad John and Special Agent

Samuel Benson interviewed defendant.        This was less than three

months before the search of defendant’s residence took place.




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According to the affidavit, defendant stated that he had watched

streaming video of Bagley and FV on his computer from his

residence, he had allowed Bagley to copy several insex.com videos

from defendant’s portable hard drive, and he still had a DVD of

FV in his residence although he had not watched it in a long

time.

        On October 2, 2009 -- a little more than two months before

the search -- the agents spoke with defendant in front of his

residence.    The affidavit does not indicate what was said during

this conversation.

        On October 20, 2009 -- less than two months before the

search -- Special Agent Samuel Benson spoke by telephone with

E.P. and J.G. (both of whom are identified in the affidavit).

The affidavit states that E.P. had been inside defendant’s

residence and was able to describe both his desktop computer and

his laptop computer.    The affidavit states that J.G. worked at

Best Buy and sold defendant his laptop.        She was able to describe

where he kept his laptop and desktop computers in his residence,

as was E.P.    J.G. was last inside defendant’s house in April or

May of 2009 -- seven or eight months before the search.            She

believed defendant had a wireless modem and router in his

residence, and she had observed various adult web sites on the

computer during her visits to defendant’s residence.




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     On November 11, 2009, Special Agent Benson confirmed with

the St. Louis Postal Inspector that defendant continued to

receive mail at the same residence.

     Special Agent Benson stated in the affidavit, “I know from

my training and experience, including discussions with

individuals familiar with the sexually explicit behavior and

activities described herein that individuals involved in human

sex trafficking typically collect, store, hoard, and maintain

images, videos, correspondence, communications, and sexually

explicit devices as part of their involvement and participation

in these activities.”    He also stated that,

     Based on my knowledge, training, and experience, including
     the experience of other agents with specialized training, I
     am aware that computer and digital files or remnants of such
     files can be recovered months or even years after they have
     been downloaded onto a hard drive, deleted or viewed via the
     Internet. . . . Even when such files have been deleted,
     they can be recovered months or years later using readily-
     available forensics tools. When a person “deletes” a file
     on a home computer, the data contained in the file does not
     actually disappear; rather, that data remains on the hard
     drive until it is overwritten by new data. Therefore,
     deleted files, or remnants of deleted files, may reside in
     free space or slack space -- that is, in space on the hard
     drive that is not allocated to an active file or that is
     unused after a file has been allocated to a set block of
     storage space -- for long periods of time before they are
     overwritten. In addition, a computer’s operating system may
     also keep a record of deleted data in a “swap” or “recovery”
     file. Similarly, files that have been viewed via the
     Internet are automatically downloaded into a temporary
     Internet directory or “cache.” The browser typically
     maintains a fixed amount of hard drive space devoted to
     these files, and the files are only overwritten as they are
     replaced with more recently viewed Internet Pages. Thus,



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     the ability to retrieve residue of an electronic file from a
     hard drive or digital storage device may depend less on when
     the file was downloaded or viewed than on a particular
     user’s operating system, storage capacity, and computer
     habits.

     The affidavit in support of the search warrant therefore

sets out that (1) less than three months before the search,

defendant admitted he had watched streaming video of Bagley and

FV on his computer from his residence, he had allowed Bagley to

copy several insex.com videos from defendant’s portable hard

drive, and he still had a DVD of FV in his residence; (2) two

acquaintances of defendant were able to identify a desktop

computer and a laptop computer and where defendant used those

items in his residence; (3) one of the acquaintances had been

inside defendant’s residence within the past five or six months

and had observed material from adult web sites on defendant’s

computer; (4) law enforcement officers who specialize in sexually

explicit behavior know, from their training and experience, that

these individuals typically collect, store, hoard, and maintain

images, videos, correspondence, communications, and sexually

explicit devices as part of their involvement and participation

in these activities; and (5) material viewed on the Internet and

material that has been deleted from a computer can be recovered

months or even years later.     This clearly describes the kind of

evidence that is not likely to be destroyed.         In fact, it




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describes evidence that can sometimes be recovered in a search

even if someone has attempted to destroy it by deleting it from

the computer.   Under these circumstances, the lapse of time is

“least important” in determining whether the information in the

affidavit is stale.    United States v. Lemon, 590 F.3d at 614.

     Because defendant’s admissions allegedly came approximately

three months before the search, and because the information

provided by the two individuals (one having been inside

defendant’s residence while the sought-after material was being

played on defendant’s computer) was only approximately six months

old at the time it was collected and eight months old at the time

of the search, and because the material sought is the type that

is not likely to be destroyed, I find that the information

challenged by defendant was not “stale” for purposes of

determining probable cause.

III. VERACITY OF “INFORMANTS”

     Defendant next argues that even though the “informants” were

identified in the affidavit by name and the affidavit indicated

that they were familiar with defendant, the information they

provided should not be relied upon because “the affidavit does

not specify how Agent Benson knew the informants, or upon what he

determined that their information was reliable, much less how the

informants are ‘familiar’ with Mr. Cook.”        First I note that the




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affidavit stated that one of the “informants” sold a computer to

defendant, was in his home on multiple occasions, and saw

material from adult web sites on his computer.

     Defendant sites United States v. Ketzeback, 358 F.3d 987,

991 (8th Cir. 2004), to argue that, “When the affidavit is based

substantially on information provided by an informant, evidence

of the informant’s reliability, veracity, and basis of knowledge

is highly relevant to the probable cause determination.”

(emphasis added).    Defendant’s argument is without merit.           The

affidavit was not “based substantially” on information provided

by the informants.    Instead, the only information provided by the

women that was not already provided by defendant himself was the

approximate date when defendant purchased his computer, from

which store he purchased it, and where his computers are located

within his residence.    None of that evidence is essential to the

probable cause finding.      In fact, if the evidence provided by

these two women were omitted from the affidavit, the probable

cause basis would not suffer.      Defendant himself provided the

bulk of the evidence necessary to establish probable cause that

the evidence sought would be found in his residence.            Special

Agent Benson provided the rest, i.e., that even material that has

been deleted from a computer or only watched via the internet can

often still be recovered from computers.        The fact that the




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desktop computer is located in defendant’s living room is not

remotely essential to a finding of probable cause.

IV.    LEON’S GOOD-FAITH EXCEPTION

       Even had I found that the information in the affidavit was

stale or that the information provided by E.P. and J.G. should

not be used in the probable cause determination due to a lack of

showing of reliability, the good-faith exception to the

exclusionary rule, set out in United States v. Leon, 468 U.S. 897

(1984), would apply.

       The Fourth Amendment to the United States Constitution

commands that “no Warrants shall issue, but upon probable cause,

supported by Oath or affirmation.”            The ordinary sanction for a

violation of the Fourth Amendment has long been suppression of

the evidentiary fruits of the illegal search.              See Weeks v.

United States, 232 U.S. 383 (1914); Mapp v. Ohio, 367 U.S. 643

(1961).     However, this exclusionary rule is not applied in cases

“when an officer acting with objective good faith has obtained a

search warrant from a judge or magistrate and acted within its

scope.”     United States v. Leon, 468 U.S. at 920.              In cases of

good faith, the evidence, although seized pursuant to a warrant

that lacked probable cause, nonetheless is admissible at trial.

United States v. Fiorito, 640 F.3d 338, 345 (8th Cir. 2011),

petition for certiorari filed (Oct 25, 2011)(No. 11-7217,




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11A309).   Leon identified four circumstances in which an

officer’s reliance on a warrant is not in objective good faith:

     (1)    when the affidavit or testimony supporting the warrant

contained a false statement made knowingly and intentionally or

with reckless disregard for its truth, thus misleading the

issuing judge;

     (2)    when the issuing judge wholly abandoned his or her

judicial role in issuing the warrant;

     (3)    when the affidavit in support of the warrant is so

lacking in indicia of probable cause as to render official belief

in its existence entirely unreasonable; and

     (4)    when the warrant is so facially deficient that no

police officer could reasonably presume the warrant to be valid.

Id.; United States v. Perry, 531 F.3d 662, 665 (8th Cir. 2008)

(quoting United States v. Proell, 485 F.3d 427, 431 (8th Cir.

2007)).

     There is neither evidence nor allegation of a false

statement by the affiant or abandonment of judicial role by the

issuing judge.   I find that the warrant is not so facially

deficient so as to cause a reasonable presumption that it is not

valid.    Further, I find that the affidavit is not so lacking in

indicia of probable cause as to render official belief in its

existence entirely unreasonable.




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     Whether a search warrant is supported by probable cause is

determined by the totality of the circumstances.               United States

v. Kattaria, 553 F.3d 1171, 1175 (8th Cir.), cert. denied, 130 S.

Ct. 771 (2009).   When the affidavit supporting the search warrant

sets forth facts sufficient to create a fair probability that

evidence of a crime will be found in the place to be searched,

probable cause exists.      United States v. McIntyre, 646 F.3d 1107,

1115 (8th Cir. 2011).       As discussed above, defendant admitted,

approximately three months before the warrant was executed, that

he had a computer in his residence; that he had watched streaming

video of co-defendant Edward Bagley, Sr., “playing with” FV; that

he had allowed Bagley to copy several insex.com videos from

defendant’s portable hard drive; and that he had a DVD of FV in

his residence.    The St. Louis Postal Inspector determined that as

of a month before the warrant was executed, defendant continued

to receive mail at that address.          Special Agent Benson indicated

that through his training and experience he knows that material

viewed over the internet is saved in a temporary file on the

user’s computer and may be recovered months or even years after

the material was viewed and that material on the computer that

was deleted can still be recovered months or years later as it is

not actually removed from the computer when the user deletes it.

This material establishes a fair probability that the evidence




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sought would be found on the computer located in defendant’s

residence.

      Therefore, because the good-faith exception to the

exclusionary rule provided for in United States v. Leon applies

in this case, defendant’s motion should be denied even if the

information in the affidavit is determined to be stale or if the

information provided by the two female acquaintances of defendant

is determined to be unreliable.

V.    CONCLUSION

      Resolution of the question of probable cause made by an

issuing judge should be paid great deference by reviewing courts.

Illinois v. Gates, 462 U.S. 213, 236 (1983); United States v.

Kattaria, 553 F.3d 1171, 1175 (8th Cir.), cert. denied, 130 S.

Ct. 771 (2009); United States v. Grant, 490 F.3d 627, 631 (8th

Cir. 2007), cert. denied, 552 U.S. 1281 (2008).               The duty of a

reviewing court “is to ensure that the issuing judge had a

‘substantial basis’ for concluding that probable cause existed.”

United States v. Kattaria, 553 F.3d at 1175, quoting United

States v. LaMorie, 100 F.3d 547, 552 (8th Cir. 1996), and

Illinois v. Gates, 462 U.S. at 238–39.

      Based on all of the above, I find that (1) the information

in the affidavit was not stale; (2) the information provided by

the female acquaintances was neither unreliable nor necessary to




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the determination of probable cause; (3) regardless of whether

the information was stale or the information from the females

unreliable, the good-faith exception to the exclusionary rule

applies, and (4) the decision of the issuing judge is entitled to

great deference and should be upheld in this case.             Therefore, it

is

      RECOMMENDED that the court, after making an independent

review of the record and the applicable law, enter an order

denying defendant’s motion to suppress his statement.

      Counsel are advised that, pursuant to 28 U.S.C. § 636(b)(1),

each has 14 days from the date of this report and recommendation

to file and serve specific objections.




                                   ROBERT E. LARSEN
                                   United States Magistrate Judge

Kansas City, Missouri
November 28, 2011




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